
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



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No. 06-09-00096-CV


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IN RE:  RICHARD M. KING, JR.








                                                                                                                                                             


Original Mandamus Proceeding







                                                                                                                                                             
                          



Before Morriss, C.J., Carter and Moseley, JJ.

Memorandum Opinion by Chief Justice Morriss



MEMORANDUM  OPINION


	Richard M. King, Jr., was convicted of aggravated sexual assault of a child.  He complained
to the trial court that his attorney failed to consult with an expert in the area of child sexual abuse. 
For reasons not thoroughly explained in King's petition for writ of mandamus with this Court, he
filed a civil suit against his attorney, clerk of the court, and several deputy clerks.  King asks this
Court to issue mandamus relief against Judge Eric Clifford due to his "conspiracy with one or more
of the defendants in this matter, [and refusal] to allow King to file his civil suit."  King's petition
clearly states that he did not pay the filing fee for this civil suit.  Although he submitted an affidavit
of indigency, it is not included as part of any record for our review.  

	Mandamus is an extraordinary remedy that issues only to correct a clear abuse of discretion
or violation of a duty imposed by law when no other adequate remedy by law is available.  State v.
Walker, 679 S.W.2d 484, 485 (Tex. 1984) (orig. proceeding).  Due to the nature of this remedy, it
is King's burden to properly request and show entitlement to the mandamus relief.  See generally
Johnson v. Fourth Dist. Court of Appeals, 700 S.W.2d 916, 917 (Tex. 1985) (orig. proceeding);
Barnes v. State, 832 S.W.2d 424, 426 (Tex. App.--Houston [1st Dist.] 1992, orig. proceeding)
("Even a pro se applicant for a writ of mandamus must show himself entitled to the extraordinary
relief he seeks.").  

	King had the obligation to provide us with evidence in support of his claim that he is entitled
to mandamus relief.  No record has been filed with this Court.  The absence of a mandamus record
prevents us from evaluating the circumstances of this case and, consequently, the merits of King's
complaints.  See Tex. R. App. P. 52.7; Barnes, 832 S.W.2d at 426.   

	We deny the petition for writ of mandamus. 




						Josh R. Morriss, III

						Chief Justice


Date Submitted:	November 10, 2009

Date Decided:		November 12, 2009


